'
                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                                                       FILED IN OPEN COURT

                                No. 5: 20-C£-3L+\ -I FL(3)             ON    7-d_\ - ~         B~
                                                                            Peter A. Moore, Jr., Clerk
                                                                            US DJstrict Court
    UNITED STATES OF AMERICA                 )   .                          Eastern District of NC
                                             )
                     V.                      )            INDICTMENT
                                             )
    RICHARD RUBALACAVA                       )


              The Grand Jury charges that:

                                      COUNT ONE

              On or about May 30, 2020, in the Eastern District of North Carolina,

    RICHARD RUBALACAVA, the defendant herein, maliciously attempted to damage

    and destroy by means, of fire, personal and real property of The Dollar General

    Express located at 149 East Davie Street, Raleigh, North Carolina, a business that

    affects interstate commerce , in violation of Title 18, United States Code, Sections

    844(i).

                                      COUNT TWO

              On or about May 30, 2020, in the Eastern District of North Carolina,

    RICHARD RUBALACAVA, the defendant herein, maliciously attempted to damage

    and destroy by means, of fire, personal and real property of Budacai Restaurant

    located at 120 East Martin Street, Raleigh, North Carolina, a business that affects

    interstate commerce, in violation of Title 18, United States Code , Sections 844(i).




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                                FORFEITURE NOTICE

           The defendant is given notice that all of the defendant's interest in all property

    specified herein is subject to forfeiture.

           Upon conviction of the offense(s) set forth in the foregoing Indictment, the

    defendant shall forfeit to the United States, pursuant to Title 18, United States Code,

    Section 982(a)(2)(B), any property constituting, or derived from, proceeds obtained,

    directly or indirectly, as a result of such violation(s), and pursuant to Title 18, United

    States Code, Section 844(c) and Title 28, United States Code, Section 246 1(c), any

    explosive materials involved or used or intended to be used in the violation(s).

          If any of the property de scribed above as being subject to forfeiture to t he

     United States, as a result of any act or omission of the Defendant,

                   (1)   Cannot be located .upon the exercise of due diligence;

                   (2)   Has been transferred or sold to, or deposited with a third party;

                   (3)   Has been placed beyond the jurisdiction of the Court;

                   (4)   Has been sub stantially diminished in value; or

                   (5)   Has been commingled with other property which cannot be

                          subdivided without difficulty;

     it is the intent of the United States, pursuant to Title 18, United States Code,

     Sections 982(b)(l), incorporating Title 21, United States Code, Section 853(p), to

     seek forfeiture of any other property of the said Defendant up to the value of the




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     above forfeitable property.



                                              A TRUE BILL



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                                                E:


    Robert J. Higdon, Jr.
    United States Attorney



    By: Daniel William Smith
    Assistant United States Attorney
    Criminal Division




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